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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                      (Alexandria Division)

  DAVID P. DONOVAN,

                   Plaintiff,
                                                               Civil Action No. 1:20-cv-1344
          v.

  BETH A. WILKINSON,

                   Defendant.


                PLAINTIFF’S REPLY TO DEFENDANT’S OPPOSITION TO
                PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff David P. Donovan (“Plaintiff” or “Donovan”), pursuant to Local Rule 7(F)(1),

 hereby replies to Defendant’s Opposition to Plaintiff’s Motion for Preliminary Injunction

 (“Opposition”).     Plaintiff commenced this action to enjoin Defendant Beth A. Wilkinson

 (“Defendant” or “Wilkinson”) from disseminating confidential information she acquired that is the

 subject of

        New information contained in the Opposition, and its declarations, confirm beyond

 question that attorney Beth Wilkinson acquired confidential information based upon a knowingly

 false representation she made                             that Pro-Football, Inc. (“PFI”)

                       had authorized her to represent that PFI                     had waived their

 confidentiality rights                        . Wilkinson’s Opposition not only establishes that her

 actions were tortious, but that she immediately disseminated the tortiously obtained information

 to                                             , in further violation of

                    , to say nothing of her ethical obligations to her client

 Notwithstanding that Plaintiff is unable to provide material information known to him concerning

 this matter due to Defendant’s failure to seek and obtain
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                                                                      Defendant’s Opposition makes

 clear that it is her intent to criticize Plaintiff’s investigation



         In light, however, of the uncontested facts Defendant has presented about the extent to

 which the information she improperly obtained has already been disseminated

 Plaintiff has reluctantly concluded that the injunctive relief he sought is no longer of practical

 value. Although he sets forth herein his response to Defendant’s principal arguments in her

 Opposition so that the record can be clear, Plaintiff is filing herewith, pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(i), a Notice of Voluntary Dismissal of this action, without prejudice to the filing of a

 future action, if appropriate, for money damages.

 I.      Defendant’s Contention That She Authored A Valid
                   Is Baseless.

         Wilkinson’s contention that she, or her law partners, could be the authors of an effective

                                      is baseless. (Opp’n. at 13.) Defendant asserts that one of her

 first tasks was to “confirm with [PFI] that [her] firm had authority to tell former employees that

 the Team was releasing them from their confidentiality obligations for purposes of talking to [her]

 firm.” (Opp’n. at 8.) Conveniently, rather than obtaining any written memorialization of that

 authority, Wilkinson claims that she had a conversation

                                                        would generically waive

                                            (Id.) Wilkinson claims

                                                                       (Id.) It is highly implausible

                 such a representation because

          instruction                                                                       . In fact,

 there is no indication that Wilkinson

                        Nor does Wilkinson indicate she had any discussion with
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 how such a                            would suffice to

                                                Obviously, this purported generic

                                  , without regard to the individual requirements of each such

 agreement, was fraught with risk that it would not be compliant

       and

        In fact, in a subsequent email exchange with Defendant’s law partner, Moira Penza

 (“Penza”),

                                                                                    but stated that

              to consider

                    to discuss                  . (Opp’n. at Ex. W-18-A.) In reply, Penza said

                                                                        discuss           (Id.) Nothing

 in the declarations, or documents, Defendant has submitted indicates that Wilkinson, or Penza,

      followed up

                      in addition to                                              . All indications from

 the record presented by Defendant is that Wilkinson and Penza simply ignored

                                  further discussion

        Although Wilkinson admits she spoke to Chirite the next day, and denies his testimony in

 his sworn declaration that      instructed

        , she does not say what they did talk about twice that day. As for her argument t

                                                       talk to                     , that was before the

              when Wilkinson’s client,                     instructed

                                                       (Opp’n. at 9.)

        Next, Wilkinson contends that, to the extent

                        she authored such a writing herself when she was counsel

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 Bizarrely, Defendant claims her                email to       lawyer, in which she misrepresented

 that she                   to inform

                                                                       speaking with



                  (Opp’n. at 13; see also Wilkinson Decl. at Ex. W-10.) But, Wilkinson repeatedly

 asserts that she never

                    Plaintiff certainly never retained Wilkinson or gave her authority to waive

 anything on his behalf. And, now we know that, weeks before Wilkinson’s                     email,

                                 expressly stated                    with       counsel on

                          , that neither

 (ECF 55-4, Sullivan Decl. ¶ 6.) Wilkinson’s submissions demonstrate that these calls occurred a

 full month after the supposed                                                           and after

 Rawson’s email                                                                                   .

 Clearly, Wilkinson has no plausible argument that she had authority as counsel

                                                                     and all the evidence she has

 submitted points to the unmistakable conclusion that

        Moreover, the record is now clear from the Defendant’s declarations that before her law

 partners interviewed

                                                  counsel attests in his Declaration that he told

 Wilkinson’s partners when they met on                  that

 told

 and they had warned him that       would be in                               (Id., ¶¶ 6, 9.) Thus,

 despite knowledge that              Defendant’s client,                 , had called        lawyer



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 three times to inform him they had not                            Wilkinson’s partners proceeded with

                anyway. (Id., ¶ 6.)

         Wilkinson’s argument, therefore, is that she authorized herself to override

             explicit instructions in August and September, based on a prior                          she

 perceived                                                                                    and during

 which the                was not specifically discussed. (Opp’n. at 13.) This purported prior

         was also contrary to             subsequent statement that                           addressed.

 (Opp’n. at Ex. W-18-A.)

         In fact, Wilkinson had no basis

                              Certainly, once                   advised Defendant’s partners on

   that counsel for                                                              , Wilkinson must have

 known                participation in an interview would be in direct violation of her obligations

                  and that                                        . Wilkinson’s representation to

         that she had authority as counsel                        to override              client,

 instructions, and to further make a representation based upon a purported oral communication by

         (who Wilkinson contends was              her client)

 discussed, is inexplicable and is firm evidence of her tortious intent.

 II.     The Opposition Confirms Defendant’s Tortious Intent.

         The reasonableness of the reliance by           and her counsel on Wilkinson’s representations

 is not an issue for this litigation. Nor is Wilkinson’s claim that the relief Plaintiff has requested

 would disrupt her client relationship with                     a hardship that should sway the Court.

 (Opp’n. at 26.) The disruption of Wilkinson’s client relationship, if any, stems from her choice,

                                                  that she tortiously secured, and which resulted in

                                                                                 client,

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      new client,           . Proving why Wilkinson misrepresented                           counsel

 is not Plaintiff’s burden, only that she, in fact, did so in violation of the rights of



          Nevertheless, Defendant argues Plaintiff has failed to present a motive for her tortious

 conduct. (Opp’n. at 19.) That would be a topic for discovery in a deposition. Perhaps Wilkinson

 acted precipitously because

 counsel for                                           conflict between the position she was taking

             her client

           , according to                   , to conduct an investigation

                                Perhaps Wilkinson feared that if she             secure

                                                                                 , she would – as she

 has asserted repeatedly throughout this matter so far –

                                                                                  Perhaps Wilkinson

 was so desirous of this high-profile engagement                  that she was prepared to ignore the

 facts,                                            in order to be able to complete her report

          without any further delay.

          Whatever Wilkinson’s motivations, however, these facts plainly raise substantial questions

 about the objectivity, thoroughness, fairness, and even competence                                 .

 Wilkinson went to great lengths to secure an interview with        in order to unearth

 of                                                                                             which

 Wilkinson immediately shared with the League. And, she did so knowing that Donovan remains

 subject to binding confidentiality obligations owed to




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 III.   The Opposition Confirms Defendant Intends To Disparage Plaintiff’s Investigation
        Because He Would Not Submit to Her Demands For An Interview.

        Defendant’s accusation that Plaintiff is refusing to defend

                                         . (Opp’n. at Ex. W14.) Wilkinson has expressly threatened

 to report to             that Plaintiff is interfering with her investigation by not submitting to an

 interview. (Id.) Yet, she also has filed multiple letters from Plaintiff’s counsel asserting that

 Donovan would cooperate if




                                                            At the same time, Wilkinson admits that

 she has never even asked                                               release            that would

                                           these matters.               counsel’s



            , which is all but an open threat that                                  should he disclose

 any information

                                  (Sullivan Decl. ¶ 14.)

        Thus, while Wilkinson went so far as to misrepresent her authority to release

                             to secure                            , she appears to have done literally

 nothing to secure

                                                                                            to secure



                                                                         duties he owes

                , despite Donovan repeatedly proposing                                      . (Opp’n.
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 at Ex. W-13, W-15.) It would be patently untrue to cast Donovan as uncooperative in an impending

 report               , or to otherwise disparage his investigation,



 IV.      Defendant’s Dissemination Of The Confidential Information Appears Already To
          Have Occurred.

          As shown, the evidence revealed by the Opposition substantially strengthens Plaintiff’s

 likelihood of success on the merits of his tortious interference claim. Unfortunately, however,

 other facts revealed to Plaintiff for the first time by the Opposition show that disclosure of the

 tortiously acquired information                   – which was the principal relief he was seeking by

 the requested injunction – has already occurred. Thus, even an injunction prohibiting further

 disclosures or discussion about the matter in Wilkinson’s report, if any, would likely be pointless,

 for the facts and information now known                    , and what it does with that information, is

 already out of Defendant’s hands.

          As a consequence, and notwithstanding the new evidence Plaintiff believes conclusively

 establishes that Defendant tortiously interfered with the parties’ rights and obligations

             , Plaintiff no longer believes burdening the Court with consideration of a request for

 injunctive relief is a wise use of judicial resources, given that the cat is already out of the proverbial

 bag, and there is little more this Court can do to unring that bell under the facts now before

 it. Absent a present need for injunctive relief, Plaintiff also believes that pursuing a claim for

 money damages would be more appropriate after Defendant determines whether she will author a

 written report that disparages Plaintiff, and until               makes a determination about further

 dissemination of this information and the report, if any, it receives from Defendant. Therefore,

 Plaintiff is simultaneously filing herewith a voluntary dismissal of this action, without prejudice




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 under Fed. R. Civ. P. 41(a)(1)(A)(i).1 Nevertheless, Plaintiff reserves his rights to refile an action

 seeking damages for reputational harm against Defendant and any other person or entity that

                          , tortiously interfered                   false and defamatory statements

 about Plaintiff’s conduct of the investigation

        Respectfully submitted, this the 23rd day of November, 2020,


                                                      /s/ Cathy A. Hinger
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                                                  Counsel for Plaintiff




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   Notwithstanding the foregoing, Plaintiff repeats what his counsel advised Defendant multiple
 times: If counsel for            obtains, and provides, satisfactory                regarding
 attorney-client privilege and


                                                                                                  , he
 remains willing to be interviewed with respect to any matter under            review.

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                                    CERTIFICATE OF SERVICE

        I hereby certify this 23rd day of November, 2020, that I caused a true copy of the foregoing to

be filed with the Clerk of Court using the CM/ECF system, which will send a notification of such

filing to all counsel of record, and that I provided email copies of the foregoing to all counsel of record.


                                                    /s/ Cathy A. Hinger
                                                  Cathy A. Hinger, Esq.
